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                                                                         FILED
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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) NO.: 3:21-mj-70929 MAG
14                                                    )
             Plaintiff,                               ) [PROPOSED] ORDER SEALING DOCUMENTS
15                                                    )
        v.                                            )
16                                                    )
     ARNARDO DONEY MARTINEZ,                          )
17       a/k/a "Candas," "Canda," "Cana,"             )
         a/k/a Hernando Martinez Rodriguez,           )
18       a/k/a Kevin Martinez,                        )
                                                      )
19           Defendant.                               )
                                                      )
20                                                    )

21           Upon motion of the United States and good cause having been shown, IT IS HEREBY
22 ORDERED that the government’s application for a sealing order, the sealing order, the Criminal

23 Complaint, the Arrest Warrant, and all attachments in the above-referenced matter, shall be filed under

24 seal until further order of the Court, except that the Clerk of Court shall provide copies of the sealed

25 documents to employees of the United States Attorney’s Office.

26           The United States Attorney’s Office is permitted to share these documents as necessary to
27 comply with its discovery obligations, and with the Drug Enforcement Administration and San

28 Francisco Police Department, which should be allowed to share the documents with other law

     [PROPOSED] SEALING ORDER                             1                                v. 2/22/2020
              Case 3:21-cr-00334-WHA Document 3 Filed 06/02/21 Page 2 of 2




 1 enforcement and intelligence agencies, including foreign law enforcement and intelligence agencies, for

 2 use in investigation and prosecution.

 3 IT IS SO ORDERED.

 4
           June 1, 2021
 5 DATED: ___________________

 6
                                                        HON. LAUREL BEELER
 7                                                      United States Magistrate Judge
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     [PROPOSED] SEALING ORDER                           2                                v. 2/22/2020
